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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                  )
  COMMITTEE ON OVERSIGHT AND                      )
   REFORM, UNITED STATES HOUSE                    )
   OF REPRESENTATIVES,                            )
                                                  )
                              Plaintiff,          )
                                                  )
                        v.                        )      No. 1:19-cv-3557 (RDM)
                                                  )
  MERRICK B. GARLAND, in his official             )
   capacity as Attorney General of the            )
   United States, et al.,                         )
                                                  )
                              Defendants.         )
                                                  )

                                   JOINT STATUS REPORT

       The parties respectfully submit the following joint status report in compliance with the

Court’s Minute Order of December 27, 2021.

       Since the parties filed their most recent status report on December 23, 2021, Defendants

have completed production of the documents requested by the Committee in accordance with the

terms of the parties’ Agreement Concerning Accommodation, a copy of which is attached to

their August 30, 2021, status report (ECF No. 59). Pursuant to the parties’ Agreement, they will

file today a stipulation of dismissal of this action, with prejudice, pursuant to Federal Rule of

Civil Procedure 41(a)(l)(A)(ii).

Dated: January 7, 2022

                                                  Respectfully submitted,

                                                  BRIAN M. BOYNTON
                                                  Acting Assistant Attorney General

                                                  BRIAN D. NETTER
                                                  Deputy Assistant Attorney General
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                              JOHN R. GRIFFITHS
                              Director

                              ELIZABETH J. SHAPIRO
                              Deputy Director


                               /s/ James J. Gilligan
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